                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-150

                                        No. COA20-364

                                      Filed 20 April 2021

     Chatham County, No. 18 CRS 50347

     STATE OF NORTH CAROLINA

                   v.

     WILLIE HENDERSON WOMBLE


             Appeal by the State from order entered 13 January 2020 by Judge Allen

     Baddour in Chatham County Superior Court. Heard in the Court of Appeals 9 March

     2021.


             Attorney General Joshua H. Stein, by Special Deputy Attorney General Jeffrey
             B. Welty, for the State.

             Patterson Harkavy LLP by Narendra K. Ghosh and Bradley J. Bannon and
             Thomas, Ferguson &amp; Beskind, L.L.P by Jay H. Ferguson for defendant-
             appellee.


             TYSON, Judge.


¶1           The State appeals from an order granting Willie Henderson Womble’s

     (“Defendant”) motion to suppress DNA evidence. We reverse and remand.

                                        I. Background

¶2           Roy Brent Bullock was shot two times during a robbery and murdered while

     working at a Food Mart grocery store in Butner on 18 November 1975, as his thirteen-
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     year-old daughter watched through a glass cooler. The North Carolina State Bureau

     of Investigation (“SBI”) and Police Officers investigating Bullock’s murder developed

     a list of suspects known to be involved with suspected robberies in the area. Joseph

     Perry, Albert Willis, and Defendant’s names were on that list of suspects.

¶3         Durham Police Detective Lorenzo Leathers (“Detective Leathers”) interviewed

     Defendant on matters unrelated to the Bullock homicide on 6 December 1975.

     Defendant made a statement to Detective Leathers about an “incident that happened

     over in Butner.” Defendant allegedly named Perry as the shooter and corroborated

     the victim’s statements before he died, and Bullock’s daughter’s testimony, that the

     shooter had worn, “a red and black or red and blue bandanna over the lower portion

     of his face.” Defendant’s statement was written down by Detective Leathers and was

     signed by Defendant. Later, Defendant’s statement was typed and was again signed

     by Defendant.       Defendant independently corroborated and acknowledged his

     statements the following day to SBI Agent Joseph Momier, without Detective

     Leathers present.

¶4         Detective Leathers testified Defendant was presented with three documents

     during the 6 December 1975 interrogation and the following day: a rights wavier

     form, a detailed confession handwritten by Detective Leathers, and the typewritten

     copy of the confession. Defendant’s trial counsel did not challenge his waiver, move

     to suppress his confessions or Detective Leathers’ testimony, nor objected when
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     Detective Leathers testified at trial.

¶5         Defendant’s statement and confession indicated his involvement with Perry,

     Willis, and another individual, James “Boo Boo” Frazier with the robbery and

     Bullock’s murder. Defendant stated Perry had given him twenty dollars to act as the

     “lookout” during the robbery and Bullock’s murder.

¶6         Defendant testified on his own behalf at trial. He stated he had felt pressured

     to make the statements because the officers were “trying to blow their breath all in

     [his] face.” Defendant also stated he was “high off beer” or under the influence when

     he made the confessions.      Defendant presented two alibi witnesses.     However,

     Defendant’s purported alibi lost credibility after evidence of local television

     programming showed the testimony of his two alibi witnesses could not have been

     accurate.

¶7         The jury unanimously found Defendant guilty of first-degree felony murder

     and he was sentenced to life imprisonment on 7 July 1976. The Supreme Court of

     North Carolina unanimously found no error in his conviction. See State v. Womble,

     292 N.C. 455, 233 S.E.2d 534 (1977) (Moore, J.).

¶8         Joseph Perry was tried for first-degree murder of Roy Brent Bullock on 3 and

     4 November 1976. The State presented eyewitness testimony that Perry had shot a

     convenience store clerk in Durham two weeks before Bullock’s murder. Shell casings

     recovered from both murder scenes were fired from the same gun.           Perry was
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       convicted of first-degree murder and sentenced to life imprisonment on 4 November

       1976.

                             A. State v. Bowden and Jones v. Keller

¶9             In State v. Bowden, 193 N.C. App. 597, 600, 668 S.E.2d 107, 109 (2008), this

       Court held the Fair Sentencing Act, N.C. Gen. Stat. § 14-2 (1974), “treats [a]

       defendant’s life sentence as an 80-year sentence for all purposes.”         Offenders

       sentenced pursuant to N.C. Gen. Stat. § 14-2 between 1974 and 1978 argued they

       were entitled to sentence reduction and “good time” and “gain time” credits, which

       rendered them eligible for immediate or imminent release. Id.
¶ 10           In preparation for this possible release of inmates affected by the ruling in

       Bowden, the North Carolina Department of Adult Correction (“DAC”) took blood

       samples of all inmates. The blood samples were taken in compliance with N.C. Gen.

       Stat. § 15A-266.4 (2009) (person who “has been convicted and incarcerated as a result

       of a conviction. . . shall provide a DNA sample before parole or release from the penal

       system”). Defendant’s blood sample was drawn without recorded objection on 28

       October 2009 and was used to develop his DNA profile. Defendant’s DNA profile was

       uploaded to the Federal Bureau of Investigation’s Combined DNA Index System

       (“CODIS”) on 2 February 2010.

¶ 11           The North Carolina Supreme Court later held the DAC’s denial of a prisoner’s

       “good time, gain time, and merit time for the purpose of unconditional release” from
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       life sentences imposed under Fair Sentencing has a rational basis. Jones v. Keller,

       364 N.C. 249, 259-60, 698 S.E.2d 49, 58 (2010). Defendant remained in the custody

       of DAC under the judgment and sentence for life imprisonment entered on the jury’s

       conviction for the Food Mart robbery and Bullock’s murder.

                                     B. Innocence Inquiry

¶ 12         In 2013, Defendant’s co-defendant, Joseph Perry, wrote the North Carolina

       Innocence Inquiry Commission (“Commission”) admitting his own participation with

       Albert Willis in Bullock’s murder, but asserted Defendant had not been involved.

       Perry told Commission staff that Willis was the only person with him during the

       murder and Defendant was not involved in any way. Commission staff interviewed

       Defendant, who asserted his innocence and applied to the Commission to review his

       case. Defendant repeated his rejected claims from trial that his confession was false,

       and he had an alibi.

¶ 13         The Commission gathered records indicating DAC had assessed Defendant’s

       Intelligence Quotient (“IQ”) at various levels between a 66 in 1977 to a 74 in 1998.

       Defendant was documented as having left school when he was 17, unsure of what

       grade he had completed “since he was in special education classes throughout his

       schooling.” Defendant’s records were inconsistent to the level of education attained,

       stating variously the 8th, 9th, or 11th grade. Defendant was diagnosed with a form of

       paranoid schizophrenia, was developmentally disabled, and has borderline
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       intellectual functioning. Defendant admitted he can read, write, perform simple

       mathematics, and “spell some five letter words.”

¶ 14         Based upon Defendant’s, Perry’s, and the alibi witnesses’ statements, the

       Commission unanimously found sufficient evidence of Defendant’s innocence to merit

       judicial review. No member of law enforcement, the prosecution or Bullock’s family

       testified before the Commission. The three-judge panel held a hearing to review

       Defendant’s claim of innocence on 2 and 3 June 2014. See N.C. Gen. Stat. § 15A-

       1469(a) (2019).      Before the three-judge panel, the current district attorney of

       Granville County, who had no previous connection to Defendant’s trial, conceded the

       unconstitutionality of his confession. Defendant’s counsel argued his client was

       mentally handicapped, had been forced by Detective Leathers to sign a confession he

       did not understand, and asserted Detective Leathers had committed perjury during

       Defendant’s trial.

¶ 15         Detective Leathers had testified at the original trial he did not “have any idea

       about” the Bullock murder prior to Defendant’s interview on 6 December 1975.

       Regarding the 6 and 7 December 1975 interviews, Detective Leathers testified

       Defendant could read and write, had waived his rights, and had read and understood

       the confession before he knowingly signed it.

¶ 16         Evidence was produced during the Commission’s hearing tending to show

       Detective Leathers had met with SBI Agent Joseph Momier and Butner Public Safety
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       Officer Nelson Williams on 19 November 1975 to develop possible suspects.

¶ 17         The Commission found Defendant was “illiterate” “for all practical purposes.”

       The three-member panel of superior court judges was appointed by Chief Justice

       Sarah E. Parker, consisting of Judges Vance Bradford Long, Phyllis M. Gorman, and

       J. Carlton Cole. Relying on the Commission’s record and without taking additional

       evidence, the panel unanimously concluded Defendant had proven his innocence by

       clear and convincing evidence and ordered his immediate release on 17 October 2014.

       Defendant was freed by the DAC pursuant to the 17 October 2014 order.

                               C. Todd Homicide Investigation

¶ 18         Two and one-half years later, a social worker assisting Pittsboro resident,

       Donna Todd, reported to the Pittsboro Police Department on 11 April 2017 that she

       had not heard from Todd in over a week. Officer Franks and Detective Clarence

       Johnson went to Todd’s apartment at the Creekside Apartments to conduct a well-

       being status check.

¶ 19          Upon opening the door, the police officers found Todd’s partially decomposed

       body lying face-down on the floor of the apartment, approximately four feet from the

       door. A pair of scissors were protruding from the back of Todd’s head near her left

       ear. She had been stabbed at least seven times and cut more than five times in her

       head, neck, and upper back. Todd had also suffered two broken ribs. The autopsy

       concluded she died from “multiple sharp and blunt force injuries.”
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¶ 20         The apartment was in disarray and had papers strewn throughout. A large

       spot of blood was observed on the floor near the couch in the living room, a tray had

       been knocked over, and bi-fold doors going toward the bedroom were knocked down.

       A woman’s wallet with blood on it was found on top of an ottoman. Officers observed

       a broken lamp on the floor near the couch with stains that appeared to be blood

       thereon. Officers also found a beer can in the apartment.

¶ 21         The officers concluded the conditions inside the apartment indicated a struggle

       had occurred in several rooms. A bent knife, wallet, beer can, lamp, and other items

       from the apartment were collected and taken into evidence.

¶ 22         Officers conducted a neighborhood canvas of residents of Creekside

       Apartments.    Defendant and his then-girlfriend, Lynn Myrie, also lived in the

       Creekside Apartments. Both initially denied knowing Todd or having contact with

       her. Defendant told officers he thought Todd’s boyfriend was “Mr. Hooks” or “Hooky,”

       a man later identified as Thel Riley.

¶ 23         Defendant later admitted he had provided Todd with cigarettes up until four

       months prior to her murder. Defendant also admitted he would occasionally give

       Todd a ride to the Piggly Wiggly grocery store. Defendant said these contacts had

       stopped after Todd had told Myrie “he [Defendant] was trying to get with her.”

¶ 24         On 3 May 2017, the Pittsboro Police Department submitted the items

       recovered from the crime scene to the State Crime Lab.        The State Crime Lab
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       confirmed the stain on the broken lamp was human blood. The State Crime Lab was

       able to obtain a DNA profile from the blood on the lamp and submitted it to CODIS.

       A beer can seized from the apartment did not return a CODIS match. The State

       Crime Lab learned the DNA profile from the broken lamp matched Defendant’s

       profile drawn on 28 October 2009 by DAC.

¶ 25         The State Crime Lab performed a confirmatory analysis by retesting

       Defendant’s profile taken 28 October 2009. The confirmatory analysis also validated

       the DNA match of the blood on the lamp with Defendant. The State Crime Lab

       reviewed Defendant’s criminal record and learned the first-degree murder conviction

       for which he was incarcerated when the 28 October 2009 sample was drawn had been

       dismissed.

¶ 26         The State Crime Lab’s legal counsel believed Defendant’s sample should be

       excluded from CODIS because the underlying conviction necessitating the sample

       had been dismissed. As a result, the State Crime Lab did not notify the Pittsboro

       Police Department of the CODIS match of the blood on the lamp to Defendant’s DNA.

       The investigation had eliminated Riley as a suspect in Todd’s murder and the

       investigation continued into other residents at the Creekside Apartments.

¶ 27         On 15 April 2017, an anonymous caller contacted the Pittsboro Police

       Department and reported and identified Defendant as Todd’s killer. The anonymous

       caller explained Todd had confronted Defendant for “hitting on her.” Todd had
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       informed Myrie of Defendant’s advances. Defendant became upset at Todd for telling

       Myrie of his actions, and he had wanted to “get” Todd. The identity of the anonymous

       caller was later identified in discovery requested by Defendant to be a close relative

       of Defendant.

¶ 28          Joseph Alibrandi, Todd’s stepfather, had spoken to Todd shortly before her

       murder near the end of March 2017. Albrandi reported Todd had told him about a

       person living in her apartment complex who was “trying to hit on her” which was

       “causing her some distress.”

¶ 29          Police responded to six reports of disturbances or assaults by Defendant and

       Myrie between March 2017 and August 2017. In a 911 recording, Defendant was

       heard yelling “If I go to jail again . . . I will kill your muthaf---n’ ass.” and “If I go to

       jail again . . . it’s going to be for muthaf---n’ murder.”

¶ 30          On 29 November 2017, the State Crime Lab notified the Pittsboro Police

       Department that Defendant’s DNA sample matched the DNA recovered from the

       blood on the lamp. Detective Johnson re-interviewed Defendant, wherein Defendant

       denied ever having been inside Todd’s apartment. Defendant refused to provide a

       voluntary DNA sample.

¶ 31          Officers obtained a search warrant for a new DNA sample from Defendant on

       23 January 2018.          Detective Johnson’s affidavit for the search warrant

       “acknowledge[d] that the conviction associated with the DNA sample in the CODIS
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       database was later overturned, that no other qualifying event had occurred, but that

       the State Crime Lab had not received an order for expunction.”

¶ 32         Officers executed the search warrant on 24 January 2018. On 7 February

       2018, the State Crime Lab found a profile from the blood on the broken lamp was

       consistent with the DNA profile taken from Defendant’s 24 January 2018 sample.

       The State Crime Lab found Defendant could not be excluded as a contributor of the

       DNA found on other DNA profiles from blood on the broken lamp and the stained

       wallet. On 28 February 2018, Defendant was charged with first-degree murder.

¶ 33         Defendant filed a motion to suppress the DNA evidence obtained from him and

       all evidence obtained as a result of the 23 January 2018 search warrant. The trial

       court held an evidentiary hearing on 14 and 15 May 2019 and final oral arguments

       on 4 September 2019 on the motion to suppress. Defendant and the State both

       submitted post-hearing briefs to the trial court.

¶ 34         Before the trial court, Defendant argued the evidence should be suppressed

       because: (1) it was obtained as a result of the unconstitutional coercion of Defendant’s

       6 and 7 December 1975 confession to the Bullock murder; (2) obtained as a result of

       a warrantless search in 2017 conducted without exigent circumstances; and, (3)

       Defendant’s counsel failure to petition for expungement of his DNA records during

       Defendant’s innocence hearing on 2 and 3 June 2014 constituted ineffective

       assistance of counsel.
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¶ 35         The trial court found and concluded Defendant’s DNA was lawfully seized in

       2009 and retained by the State, and the attorneys, who had represented Defendant

       on his innocence proceedings, did not provide him ineffective assistance of counsel.

       However, the trial court allowed Defendant’s motion to suppress.

¶ 36         The trial court held the General Assembly “could . . . have chosen to make

       expunction automatic in the course of exonerations or reversals of convictions, but

       did not and instead place[d] the burden of seeking expungement on the defendant,”

       and ordered the DNA evidence to be excluded. Without being asserted or briefed by

       either Defendant or the State, the trial court concluded this lack of “expunction

       automatic in the course of exonerations or reversals” places “an unconstitutional

       burden on the defendant” in violation of the Law of the Land Clause in Article I,

       Section 19 of the North Carolina Constitution. The State filed timely notice of appeal.

                                         II. Jurisdiction

¶ 37         Jurisdiction lies in this Court pursuant to N.C. Gen. Stat. §§ 15A-979(c) and

       15A-1445 (2019) from the State’s appeal of the superior court’s order granting

       Defendant’s motion to suppress.

                                             III. Issue

¶ 38         The State argues the trial court erred in granting Defendant’s motion to

       suppress.

                                     IV. Standard of Review
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¶ 39         “The standard of review for a motion to suppress is whether the trial court’s

       findings of fact are supported by the evidence and whether the findings of fact support

       the conclusions of law.” State v. Wainwright, 240 N.C. App. 77, 83, 770 S.E.2d 99,

       104 (2015) (internal quotation marks and citation omitted). “[I]n evaluating a trial

       court’s ruling on a motion to suppress . . . the trial court’s findings of fact are

       conclusive on appeal if supported by competent evidence, even if the evidence is

       conflicting.” State v. Allen, 197 N.C. App. 208, 210, 676 S.E.2d 519, 521 (2009)

       (citation omitted).

¶ 40         Findings of fact not challenged on appeal are deemed supported by competent

       evidence and are binding upon this Court. State v. Biber, 365 N.C. 162, 168, 712

       S.E.2d 874, 878 (2011). “The trial court’s conclusions of law . . . are fully reviewable

       on appeal.” State v. Hughes, 353 N.C. 200, 208, 539 S.E.2d 625, 631 (2000).

                                   V. Law of the Land Clause

¶ 41         The State does not challenge any of the findings of fact made by the trial court

       in the order granting Defendant’s motion to suppress. These findings are binding

       upon appeal. Biber, 365 N.C. at 168, 712 S.E.2d at 878.

                                         A. Preservation

¶ 42         The State argues the trial court erred in granting Defendant’s motion to

       suppress. It asserts the basis for allowing the motion, the Law of the Land Clause in

       Article I, Section 19 of the North Carolina Constitution, was not specifically argued
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       before the trial court. The State asserts appellate review is barred because that

       specific reason was not raised before the trial court.

¶ 43         Before the trial court, Defendant’s attorney argued for the motion to suppress

       “because 15A-266.4 violates the State Constitution and the Fourth Amendment.”

       Defendant also argued his innocence hearing counsel provided ineffective assistance

       by failing to petition for expungement upon his exoneration.

¶ 44         “[W]here a theory argued on appeal was not raised before the trial court, the

       law does not permit parties to swap horses between courts in order to get a better

       mount in the appellate courts.” State v. Holliman, 155 N.C. App. 120, 123, 573

       S.E.2d 682, 685 (2002) (citations and internal quotation marks omitted). Our

       Appellate Rules provide: “In order to preserve an issue for appellate review, a party

       must have presented to the trial court a timely request, objection, or motion, stating

       the specific grounds for the ruling the party desired the court to make if the specific

       grounds were not apparent from the context.” N.C. R. App. 10(a)(1).

¶ 45         Rule 10(a)(1) applies to constitutional challenges. See State v. Valentine, 357

       N.C. 512, 525, 591 S.E.2d 846, 857 (2003). Our Supreme Court and this Court have

       consistently denied appellate review of unpreserved constitutional issues. See State

       v. Golphin, 352 N.C. 364, 403-04, 533 S.E.2d 168, 197 (2000) (“This Court is not

       required to pass upon a constitutional issue unless it affirmatively appears that the

       issue was raised and determined in the trial court.” (citation omitted)). “It is well
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       settled that an error, even one of constitutional magnitude, that defendant does not

       bring to the trial court’s attention is waived and will not be considered on appeal.”

       State v. Bursell, 372 N.C. 196, 199, 827 S.E.2d 302, 305 (2019) (citation omitted).

¶ 46         N.C. Gen. Stat. § 15A-977(a) provides “the motion to suppress must state the

       grounds upon which it is made.” N.C. Gen. Stat. § 15A-977(a) (2019).

¶ 47         In State v. Harvey, 78 N.C. App. 235, 237, 336 S.E.2d 857, 859 (1985), the

       defendant argued in his motion to suppress the confession was involuntary. The trial

       court allowed a motion to suppress because the police failed to give the Miranda

       warnings prior to custodial interrogation. Id. This Court held “[t]he decision to deny

       summarily a motion which fails to set forth adequate legal grounds is vested in the

       sound discretion of the trial court.” Id.
¶ 48         This Court applied Harvey in State v. Colbert, 146 N.C. App. 506, 553 S.E.2d

       221 (2001). There, a trial court allowed a motion to suppress in a driving while

       impaired case on a ground not specifically raised by the defendant in his motion to

       suppress. Id. at 507, 553 S.E.2d at 223. This Court held: “Once the trial court decides

       not to dismiss the motion but rather to have a hearing, the court may base its

       conclusion on grounds other than those set forth in the motion.” Id. at 508, 553 S.E.2d

       at 223 (citation omitted).

¶ 49         Rule 28 of the North Carolina Rules of Appellate Procedure states: “an appellee

       may present issues on appeal based on any action or omission of the trial court that
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       deprived the appellee of an alternative basis in law for supporting the judgment,

       order, or other determination from which appeal has been taken.” N.C. R. App. P.

       28(c). “Our precedents clearly allow the party seeking to uphold the trial court’s

       presumed-to-be-correct and ultimate ruling to, in fact, choose and run any horse to

       race on appeal to sustain the legally correct conclusion of the order appealed from.”

       State v. Hester, 254 N.C. App. 506, 516, 803 S.E.2d 8, 16 (2017) (emphasis original)

       (citations and internal quotation marks omitted).

¶ 50          The trial court acted within its inherent power to consider the motion to

       suppress and to grant on grounds or reasons not specifically argued below by

       Defendant or the State. The ruling is preserved for appellate review. N.C. R. App.

       P. 28(c).

                                 B. Eligibility for Expungement

¶ 51          To address the parties’ arguments regarding Defendant’s eligibility for

       expungement, we review N.C. Gen. Stat. §§ 15A-146 and 15A-148. In reviewing these

       statutes, we are guided by several well-established principles and precedents of

       statutory construction.

¶ 52          “The principal goal of statutory construction is to accomplish the legislative

       intent.” Lenox, Inc. v. Tolson, 353 N.C. 659, 664, 548 S.E.2d 513, 517 (2001) (citation

       omitted). “The best indicia of that intent are the language of the statute . . . , the

       spirit of the act and what the act seeks to accomplish.” Coastal Ready-Mix Concrete
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       Co. v. Bd. of Comm’rs, 299 N.C. 620, 629, 265 S.E.2d 379, 385 (1980) (citation

       omitted).

¶ 53         “When construing legislative provisions, this Court looks first to the plain

       meaning of the words of the statute itself[.]” State v. Ward, 364 N.C. 157, 160, 694

       S.E.2d 729, 731 (2010).    “Where a statute contains two clauses which prescribe its

       applicability, and the clauses are connected by the disjunctive, application of the

       statute is not limited to cases falling within both clauses, but applies to cases falling

       within either one of them.” Grassy Creek Neighborhood Alliance, Inc. v. City of

       Winston-Salem, 142 N.C. App. 290, 297, 542 S.E.2d 296, 301 (2001) (citations

       omitted).

¶ 54         “[S]tatutes in pari materia must be read in context with each other.” Cedar

       Creek Enters. Inc. v. Dep’t of Motor Vehicles, 290 N.C. 450, 454, 226 S.E.2d 336, 338
       (1976). “Interpretations that would create a conflict between two or more statutes

       are to be avoided, and statutes should be reconciled with each other whenever

       possible.” Taylor v. Robinson, 131 N.C. App. 337, 338, 508 S.E.2d 289, 291 (1998)

       (internal quotation marks, citations, and alterations omitted).

¶ 55         Further, our Supreme Court has held, “where a literal interpretation of the

       language of a statute will lead to absurd results, or contravene the manifest purpose

       of the Legislature, as otherwise expressed, the reason and purpose of the law shall

       control[.]” State v. Beck, 359 N.C. 611, 614, 614 S.E.2d 274, 277 (2005) (citation
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       omitted).

¶ 56         N.C. Gen. Stat. § 15A-148 addresses orders of expunction and provides:

                          (a) Upon a motion by the defendant following the
                   issuance of a final order by an appellate court reversing and
                   dismissing a conviction of an offense for which a DNA
                   analysis was done in accordance with Article 13 of Chapter
                   15A of the General Statutes, or upon receipt of a pardon of
                   innocence with respect to any such offense, the court shall
                   issue an order of expungement of the DNA record and
                   samples in accordance with subsection (b) of this section.
                   The order of expungement shall include the name and
                   address of the defendant and the defendant’s attorney and
                   shall direct the North Carolina State Crime Laboratory to
                   send a letter documenting expungement as required by
                   subsection (b) of this section.
                          (b) When an order of expungement has been issued
                   pursuant to subsection (a) of this section, the order of
                   expungement, together with a certified copy of the final
                   appellate court order reversing and dismissing the
                   conviction or a certified copy of the instrument granting the
                   pardon of innocence, shall be provided to the North
                   Carolina State Crime Laboratory by the clerk of court.
                   Upon receiving an order of expungement for an individual
                   whose DNA record or profile has been included in the State
                   DNA Database and whose DNA sample is stored in the
                   State DNA Databank, the DNA profile shall be expunged
                   and the DNA sample destroyed by the North Carolina
                   State Crime Laboratory, except that the order shall not
                   apply to other offenses committed by the individual that
                   qualify for inclusion in the State DNA Database and the
                   State DNA Databank. A letter documenting expungement
                   of the DNA record and destruction of the DNA sample shall
                   be sent by the North Carolina State Crime Laboratory to
                   the defendant and the defendant’s attorney at the address
                   specified by the court in the order of expungement. . . .
                          (c) Any petition for expungement under this section
                   shall be on a form approved by the Administrative Office of
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                    the Courts and be filed with the clerk of superior court.
                    Upon order of expungement, the clerk shall forward the
                    petition to the Administrative Office of the Courts.

       N.C. Gen. Stat. § 15A-148 (2019) (emphasis supplied).

¶ 57         N.C. Gen. Stat. § 15A-148 allows a defendant to petition for expungement of

       their “DNA record and samples,” “following the issuance of a final order by an

       appellate court reversing and dismissing a conviction of an offense for which a DNA

       analysis was done” or “upon receipt of a pardon of innocence.” Id. The trial court

       concluded the statute violated the Law of the Land Clause in Article I, Section 19 of

       the North Carolina Constitution for not mandating automatic expunction upon

       Defendant’s exoneration and granted Defendant’s motion to suppress.

¶ 58         Defendant failed to petition to have his DNA record expunged. The State

       argues Defendant was not eligible for expungement because an “appellate court” did

       not dismiss Defendant’s conviction. Defendant argues the State has waived this

       argument by not arguing it before the trial court. As asserted above, the trial court

       decided the motion on a basis not argued before it. At this Court, the State argued

       and briefed the results of the DNA tests should be allowed in the upcoming trial under

       N.C. Gen. Stat. § 15A-148. Alternatively, and in the exercise of our discretion, we

       invoke Rule 2 of the Rules of Appellate Procedure to review this argument. N.C. R.

       App. P. 2.
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¶ 59         N.C. Gen. Stat. § 15A-148(a) contains two clauses in the disjunctive. Neither

       applies to Defendant. Defendant received a dismissal of the first-degree felony-

       murder conviction from the three-judge panel, based upon the recommendation of the

       Commission and the stipulation of the Granville County District Attorney. At oral

       argument, Defendant’s counsel conceded Defendant did not receive a “pardon of

       innocence” and asserted we should construe that the three-judge superior court panel

       constitutes an “appellate court” under N.C. Gen. Stat. § 15A-148. Defendant asserts

       the three-judge panel is an appellate court because it was the court commissioned by

       Chief Justice Parker to review his 1976 conviction for the felony-murder of Bullock.

¶ 60         After the Commission’s finding of sufficient evidence of factual innocence to

       merit judicial review, the Chief Justice appoints a three-judge panel to “convene a

       special session of the superior court of the original jurisdiction [of the case] to hear

       evidence relevant to the Commission’s recommendation. N.C. Gen. Stat. § 15A-

       1469(a) (2019) (emphasis supplied) (The trial court applied N.C. Gen. Stat. § 15A-

       1469 (2019), which was amended effective 1 December 2019 by N.C. Gen. Stat. §15A-

       1469 (Supp. 2020)). “The three-judge panel shall conduct an evidentiary hearing.”

       N.C. Gen. Stat. § 1469(d) (2019) (emphasis supplied). This Court has consistently

       held: “An appellate court does not sit as the finder of fact.” State v. Crews, 66 N.C.

       App. 671, 675, 311 S.E.2d 895, 897 (1984). Unlike when the superior court sits as an

       appellate court reviewing the actions of a county or municipality zoning board on a
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       closed record, the three-judge panel is tasked under the statute to “hear[ing] evidence

       relevant to the Commission’s recommendation.” N.C. Gen. Stat. § 15A-1469(a).

¶ 61         The State asserts Defendant is also ineligible for expunction under N.C. Gen.

       Stat. § 15A-146 (2019). N.C. Gen. Stat. § 15A-146 provides, inter alia:

                    (a) If any person is charged with a crime, either a
                    misdemeanor or a felony, or was charged with an infraction
                    under G.S. 18B-302(i) prior to December 1, 1999, and the
                    charge is dismissed, that person may petition the court of
                    the county where the charge was brought for an order to
                    expunge from all official records any entries relating to his
                    apprehension or trial. The court shall hold a hearing on
                    the petition and, upon finding that the person had not
                    previously been convicted of any felony under the laws of
                    the United States, this State, or any other state, the court
                    shall order the expunction. . . .

                    (a1) Notwithstanding subsection (a) of this section, if a
                    person is charged with multiple offenses and the charges
                    are dismissed, then a person may petition to have each
                    of the dismissed charges expunged. The court shall hold a
                    hearing on the petition. If the court finds that the person
                    had not previously been convicted of any felony under the
                    laws of the United States, this State, or any other state, the
                    court shall order the expunction.

                    (a2) If any person is charged with a crime, either a
                    misdemeanor or a felony, or an infraction under G.S. 18B-
                    302(i) prior to December 1, 1999, and a finding of not guilty
                    or not responsible is entered, that person may petition the
                    court of the county where the charge was brought for an
                    order to expunge from all official records any entries
                    relating to apprehension or trial of that crime. The court
                    shall hold a hearing on the petition and upon finding that
                    the person had not previously been convicted of any felony
                    under the laws of the United States, this State, or any other
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state, the court shall order the expunction. . . . If a person
is charged with multiple offenses and findings of not guilty
or not responsible are made on charges, then a person may
petition to have each of the charges disposed by a finding
of not guilty or not responsible expunged. The court shall
hold a hearing on the petition. If the court finds that the
person had not previously been convicted of any felony
under the laws of the United States, this State, or any other
state, the court shall order the expunction.

....

(b1) Any person entitled to expungement under this
section may also apply to the court for an order expunging
DNA records when the person’s case has been dismissed by
the trial court and the person’s DNA record or profile has
been included in the State DNA Database and the person’s
DNA sample is stored in the State DNA Databank. A copy
of the application for expungement of the DNA record or
DNA sample shall be served on the district attorney for the
judicial district in which the felony charges were brought
not less than 20 days prior to the date of the hearing on the
application. If the application for expungement is granted,
a certified copy of the trial court’s order dismissing the
charges shall be attached to an order of expungement. The
order of expungement shall include the name and address
of the defendant and the defendant’s attorney and shall
direct the North Carolina State Crime Laboratory to send
a letter documenting expungement as required by
subsection (b2) of this section.

(b2) Upon receiving an order of expungement entered
pursuant to subsection (b1) of this section, the North
Carolina State Crime Laboratory shall purge the DNA
record and all other identifying information from the State
DNA Database and the DNA sample stored in the State
DNA Databank covered by the order, except that the order
shall not apply to other offenses committed by the
individual that qualify for inclusion in the State DNA
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                    Database and the State DNA Databank. A letter
                    documenting expungement of the DNA record and
                    destruction of the DNA sample shall be sent by the North
                    Carolina State Crime Laboratory to the defendant and the
                    defendant’s attorney at the address specified by the court
                    in the order of expungement.

       N.C. Gen. Stat. § 15A-146 (emphasis supplied) (The trial court applied N.C. Gen. Stat.

       § 15A-146 (2019), which was amended effective 1 December 2020 by N.C. Gen. Stat.

       §15A-146 (Supp. 2020)).

¶ 62         Defendant had two prior felony convictions for larceny and a felony conviction

       for breaking and entering unaffected by the dismissal of his prior murder conviction.

       Under the plain language of N.C. Gen. Stat. § 15A-146, Defendant is not entitled to

       an expungement.

¶ 63         The State further argues Defendant was not eligible for expungement because

       N.C. Gen. Stat. § 15A-148(b) provides “except that the order [to expunge] shall not

       apply to other offenses committed by the individual that qualify for inclusion in the

       State’s DNA Database and the State DNA Databank.” N.C. Gen. Stat. § 15A-148(b).

¶ 64         Defendant argues the State has not preserved this argument for appellate

       review.   Before the trial court, the State presented Defendant’s certified prior

       criminal record. In addition to the first-degree felony murder conviction, Defendant

       had been convicted of multiple counts of larceny, burglary of habitation, larceny from

       auto, burglary forced entry non-residential, larceny from a building, burglary forced
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       entry non-residential store breaking, larceny from a building, and passing forged

       checks. Defendant pleaded guilty to two counts of felony larceny and two counts of

       misdemeanor larceny.

¶ 65         Before the trial court, the State conceded “None of these prior arrests or

       convictions would have triggered the collection of the DNA of [Defendant] under the

       law at the time of arrest, conviction, or incarceration.” “Our precedents clearly allow

       the party seeking to uphold the trial court’s presumed-to-be-correct” order to “run any

       horse to race on appeal to sustain the legally correct conclusion of the order appealed.”

       Hester, 254 N.C. App. at 516, 803 S.E.2d at 16. “The law does not permit parties to

       swap horses between courts in order to get a better mount in the appellate courts.”

       State v. Shelly, 181 N.C. App. 196, 206-07, 638 S.E.2d 516, 525 (2007). The State, as

       appellant seeking to overturn the trial court’s order, cannot now assert the

       Defendant’s prior felony convictions would nullify application of N.C. Gen. Stat. §

       15A-148.

¶ 66         The 28 October 2009 sample was lawfully collected from Defendant in 2009

       while he was incarcerated under a judgment entered upon a unanimous jury’s verdict

       for first-degree felony murder, and was reviewed with no error by a unanimous

       Supreme Court. As the trial court properly found and concluded, this random blood

       draw during incarceration was both lawfully taken and maintained pursuant to the
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       authority in N.C. Gen. Stat.§ 15A-266.4 (2019). That portion of the trial court’s order

       is affirmed.

¶ 67         Defendant was not eligible for expulsion or expungement of the DNA sample

       under either N.C. Gen. Stat. §§ 15A-146 or 15A-148.

                                  C. Automatic Expungement

¶ 68         The trial court granted Defendant’s motion to suppress, holding the statute not

       authorizing automatic expunction upon Defendant’s exoneration was constitutionally

       deficient and prejudicial in violation of the Law of the Land Clause in Article I,

       Section 19 of the North Carolina Constitution.

¶ 69         N.C. Gen. Stat. § 15A-148 allows a defendant to petition for expungement of

       their “DNA record and samples” “upon receipt of a pardon of innocence.” N.C. Gen.

       Stat. § 15A-148. Federal law requires all states participating in CODIS to establish

       expungement provisions. 34 U.S.C. § 12592 (d)(2)(A) (2018). 34 U.S.C. § 12592 does

       not specify the specific procedure states must establish for participation in CODIS.

¶ 70         Our General Assembly places the burden on the defendant to petition to

       initiate the expungement proceedings. In State v. Swann, this Court examined a

       defendant’s petition to expunge his DNA record. State v. Swann, 197 N.C. App. 221,

       222, 676 S.E.2d 654, 656 (2009). The defendant offered his petition as evidence at his

       motion to suppress. Id. This Court affirmed the trial court, wherein the defendant

       was attempting to “retroactively expunge his DNA records after they had been used
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       by law enforcement to identify him as the perpetrator in a number of crimes.” Id. at

       224, 676 S.E.2d at 657.

¶ 71         This Court further reasoned expungement of a record extinguishes a record as

       if it never existed, but “this only occurs after the order of expunction has been

       entered.” Id. (emphasis original). “[T]he intent of the legislature that the effect of

       the expunction is prospective only.” Id. The expungement statute, N.C. Gen. Stat. §

       15A-148, is prospective only, not retrospective.

¶ 72         Defendant’s murder charge was dismissed by the 17 October 2014 order.

       Defendant was not eligible to have his 28 October 2009 sample automatically

       destroyed and the corresponding DNA profile expunged from CODIS. Our General

       Assembly places this burden on the individual to petition, as is directed by 42 U.S.C.

       § 14132. The trial court held this affirmative burden placed an “unconstitutional

       burden on the defendant” in violation of the Law of the Land Clause in Article I,

       Section 19 of the North Carolina Constitution. At no time at his earlier trial, before

       the trial court, or this Court does Defendant assert he was incompetent or offer any

       basis to support his inaction.

¶ 73         Article I, Section 19 of the North Carolina Constitution provides, inter alia:

       “No person shall be taken, imprisoned, or disseized of his freehold, liberties, or

       privileges, or outlawed or exiled, or in any manner deprived of his life, liberty, or

       property, but by the law of the land.” N.C. Const. art I, § 19. The Law of the Land
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       Clause has been held to be the equivalent of the Fourteenth Amendment’s Due

       Process Clause. See State v. Collins, 169 N.C. 323, 32[4], 84 S.E. 1049, 1050 (1915).

¶ 74         “[A] decision of the United States Supreme Court interpreting the Due Process

       Clause is persuasive, though, not controlling authority for interpretation of the Law

       of the Land Clause.” Evans v. Cowan, 132 N.C. App. 1, 6, 510 S.E.2d 170, 174 (1999)

       (citation omitted). Our Supreme Court has “reserved the right to grant Section 19

       relief against unreasonable and arbitrary state statutes in circumstances where relief

       might not be obtainable under the Fourteenth Amendment to the United States

       Constitution.” In re Meads, 349 N.C. 656, 671, 509 S.E.2d 165, 175 (1998) (citation

       omitted).

¶ 75         The constitutional inquiry under the Law of the Land Clause is: “(1) Does the

       regulation have a legitimate objective; and (2) if so, are the means chosen to

       implement that objective reasonable?” Id. (citations omitted). The government’s

       interest in preserving an identification record of convicted felons for resolving past or

       future crimes is a legitimate government objective. See Maryland v. King, 569 U.S.

       435, 453, 186 L. Ed. 2d 1, 24 (2013).

¶ 76         The second prong of the Law of the Land Clause inquiry is also met, N.C. Gen.

       Stat. § 15A-266.4 provides for the collection of DNA evidence from an inmate prior to

       release. Under the circumstances articulated in N.C. Gen. Stat. §§ 15A-146 and 15A-

       148, a defendant can petition for samples to be destroyed and DNA profiles to be
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       expunged from CODIS.

¶ 77         The trial court’s suppression of the DNA evidence based upon the Law of the

       Land Clause denied the longstanding presumption of validity of legislative policy

       choices and is error. The application of N.C. Gen. Stat. § 15A-148 is presumed to be,

       and is, constitutional under the Law of the Land Clause. In re Meads, 349 N.C. at

       671, 509 S.E.2d at 175. The trial court’s order concluding otherwise is reversed.

                                         VI. Due Process

¶ 78         Defendant and the State present additional arguments, which are likely to re-

       occur on remand. Defendant argues the trial court’s order suppressing the DNA

       evidence should be alternatively affirmed because the evidence violates the Due

       Process Clause of the Fourteenth Amendment. The trial court’s order did not find

       and conclude the taking of or maintaining the results of the blood sample as

       unconstitutional under the Due Process Clause.

¶ 79         “Due Process provides two types of protection for individuals against improper

       government action.” State v. Fowler, 197 N.C. App. 1, 20, 676 S.E.2d 523, 540 (2009)

       (citation and internal quotation marks omitted). The “two types” of protection are

       procedural and substantive due process. Id. “Substantive due process is a guaranty

       against arbitrary legislation, demanding that the law shall not be unreasonable,

       arbitrary or capricious, and that the law be substantially related to the valid object

       sought to be obtained.” State v. Joyner, 286 N.C. 366, 371, 211 S.E.2d 320, 323 (1975).
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       “Substantive Due Process protection prevents the government from engaging in

       conduct that shocks the conscience or interferes with rights implicit in the concept of

       ordered liberty.” State v. Thompson, 349 N.C. 483, 491, 508 S.E.2d 277, 282 (1998)

       (citations and internal quotation marks omitted).

¶ 80         “Procedural due process protection ensures that when the government action

       deprives a person of life, liberty, or property survives substantial due process review,

       that action is implemented in a fair manner.” Id. (citations and internal quotation

       marks omitted).

¶ 81         Our Supreme Court has held:

                    because the United States Constitution is binding on
                    the states, the rights it guarantees must be applied to
                    every citizen by the courts of North Carolina, so no citizen
                    will be “accorded lesser rights” no matter how we construe
                    the state Constitution. For all practical purposes,
                    therefore, the only significant issue for this Court when
                    interpreting a provision of our state Constitution
                    paralleling a provision of the United States Constitution
                    will always be whether the state Constitution guarantees
                    additional rights to the citizen above and beyond those
                    guaranteed by the parallel federal provision. In this
                    respect, the United States Constitution provides a
                    constitutional floor of fundamental rights guaranteed all
                    citizens of the United States, while the state constitutions
                    frequently give citizens of individual states basic rights in
                    addition to those guaranteed by the United States
                    Constitution.

       State v. Jackson, 348 N.C. 644, 648, 503 S.E.2d 101, 103 (1998) (emphasis original).

¶ 82         As noted above, the Law of the Land Clause is North Carolina’s constitutional
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       equivalent of the Fourteenth Amendment’s Due Process Clause. See Collins, 169 N.C.

       at 32[4], 84 S.E. at 1050. Our Supreme Court has read our Law of the Land Clause

       to provide greater protection than the Due Process Clause of the Fourteenth

       Amendment. See In re Meads, 349 N.C. at 671, 509 S.E.2d at 175 (citation omitted).

¶ 83          As the trial court and we held above, the 28 October 2009 DNA blood sample

       taken from Defendant and test results retained by the State and CODIS did not

       violate his rights under the Law of the Land Clause. Because the Law of the Land

       Clause provides greater protections for North Carolina citizens than the floor of the

       Due Process Clause, no due process violation occurred here. Defendant’s argument

       is overruled.

¶ 84          Defendant filed a memorandum of addition authority in accordance with Rule

       28 of the North Carolina Rules of Appellate Procedure and argued the Supreme Court

       of the United States decision in Nelson v. Colorado, __ U.S. __, 197 L. Ed. 2d 611
       (2017) as an alternative ground to uphold the trial court’s suppression order of the

       confirmatory test of Defendant’s blood sample.           Presuming without deciding,

       Defendant’s blood draw was of similar character as the fines, fees, and restitution at

       issue in Nelson, and Defendant was entitled to its return after the dismissal of his

       murder conviction, Defendant fails to show any petition for the return of his property

       (blood).

¶ 85          In rejecting Colorado’s statutory scheme as being in violation of Nelson’s Due
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       Process rights, the Supreme Court of the United States also held: “[t]o comport with

       due process, a State may not impose anything more than minimal procedures on the

       refund of exactions dependent upon a conviction subsequently invalidated.” Id. at __,

       197 L. Ed. 2d at 620. Without petition to return his property, Defendant, unlike in

       Nelson, did not invoke the statutory minimum procedure. Defendant did not argue

       this basis before the trial court and his failure to request the return of his blood as an

       exaction of his invalidated conviction prevents us from considering the matter as a

       violation of his federal Due Process rights. Defendant’s argument is dismissed.

                                            VII. Coercion

¶ 86         Defendant argues this Court should affirm the trial court’s order suppressing

       the DNA sample because his confession was obtained by coercion by Detective

       Leathers and that Detective Leathers committed perjury during Defendant’s trial.

       Defendant asserts the exclusionary rule mandates suppression because the

       confession was fruit of the poisonous tree.

¶ 87         The “fruit of the poisonous tree doctrine” provides for application of the

       exclusionary rule “[w]hen evidence is obtained as the result of illegal police conduct,

       not only should that evidence be suppressed, but all evidence that is the ‘fruit’ of that

       unlawful conduct should be suppressed.” State v. Pope, 333 N.C. 106, 113-14, 423

       S.E.2d 740, 744 (1992) (citations omitted). However, the Supreme Court of the United

       States has held: “while the government should not profit from its illegal activity,
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       neither should it be placed in a worse position than it would otherwise have occupied.”

       Murray v. United States, 487 U.S. 533, 542, 101 L. Ed. 2d 472, 483 (1988). This

       “independent source doctrine” is an exception to the exclusionary rule when “a later,

       lawful seizure is genuinely independent of an earlier, tainted one.”        Id.   “[T]he

       independent source doctrine provides that evidence obtained illegally should not be

       suppressed if it is later acquired pursuant to a constitutionally valid search or

       seizure.” State v. McKinney, 361 N.C. 53, 58, 637 S.E.2d 868, 872 (2006).

¶ 88         Neither the trial judge, jury, the original Supreme Court’s unanimous opinion,

       the Commission, nor the three-superior court judge panel found any misconduct by

       Detective Leathers. The basis for the finding of innocence was the testimony by

       Joseph Perry, who waited thirty-seven years, and until after the deaths of his co-

       defendant, Willis, and Detective Leathers, to assert his exculpation of Defendant.

       The three-judge panel’s ruling is not based upon an assertion of a finding of fruit of

       the poisonous tree.

¶ 89         Defendant has made no showing to support any coercion by Detective Leathers.

       As an alternative basis to dismiss his claim, Defendant provided a version of his

       confession to Agent Momier and Detective Tony Roop on 14 December 1975. This

       independent source of Defendant’s confession is apart from any alleged coercion of

       Defendant by Detective Leathers. This independent source prevents the application

       of the exclusionary rule.    Because Defendant’s confessions and the subsequent
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       evidence were not fruit of the poisonous tree, we need not address the State’s

       attenuation argument, which is unlikely to occur on remand. Defendant’s argument

       is without merit and dismissed.

                                   VIII. Warrantless Search

¶ 90         Defendant argues the DNA profile created from his 28 October 2009 sample

       constituted a warrantless search conducted without exigent circumstances.         We

       review the applicability of the Fourth Amendment to Defendant’s arguments.

¶ 91         “The Fourth Amendment to the United States Constitution protects

       individuals ‘against unreasonable searches and seizures[.]’ ” McKinney, 361 N.C. at

       57, 637 S.E.2d at 871 (quoting U.S. Const. amend. IV). “The Fourth Amendment

       protects against governmental invasions into a person’s legitimate expectation of

       privacy, which has two components: (1) the person must have an actual expectation

       of privacy, and (2) the person’s subjective expectation must be one that society deems

       to be reasonable.” State v. Wiley, 355 N.C. 592, 602, 565 S.E.2d 22, 32 (2002) (citing

       Smith v. Maryland, 442 U.S. 735, 740, 61 L. Ed. 2d 220, 226-27 (1979)). “Generally,

       a warrant is required for every search and seizure, with particular exceptions.” State

       v. Armstrong, 236 N.C. App. 130, 132, 762 S.E.2d 641, 643 (2014) (citations omitted).

¶ 92         “The Fourth Amendment proscribes all unreasonable searches and seizures,

       and it is a cardinal principle that searches conducted outside the judicial process,

       without prior approval by judge or magistrate, are per se unreasonable under the
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       Fourth Amendment—subject only to a few specifically established and well-

       delineated exceptions.” United States v. Ross, 456 U.S. 798, 825, 72 L. Ed. 2d 572,

       594 (1982) (citations and internal quotation marks omitted). “Searches conducted

       without warrants have been held unlawful notwithstanding facts unquestionably

       showing probable cause, for the Constitution requires that the deliberate, impartial

       judgment of a judicial officer . . . be interposed between the citizen and the police.”

       Katz v. United States, 389 U.S. 347, 357, 19 L.Ed.2d 576, 585 (1967) (citations and

       internal quotation marks omitted).

¶ 93         In Maryland v. King, the Supreme Court of the United States reviewed a

       Fourth Amendment challenge to a Maryland statute authorizing the collection of

       DNA samples taken upon booking after arrest for certain crimes. King, 569 U.S. at

       441, 186 L. Ed. 2d at 16. The defendant was arrested for both first and second-degree

       assault. Upon booking, his cheek was swabbed to obtain a DNA sample. Id. at 440,

       186 L. Ed. 2d at 16. The sample matched evidence collected from a rape, which had

       occurred six years earlier. Id. at 441, 186 L. Ed. 2d at 16. The defendant was charged,

       tried, and convicted of the prior rape. Id.
¶ 94         The Supreme Court upheld the conviction with the admitted DNA evidence

       and held the defendant’s “expectations of privacy were not offended by the minor

       intrusion of a brief swab of his cheek.” Id. at 465, 186 L. Ed. 2d at 32. The Court

       held defendant’s expectation of privacy was not violated in the “context of a valid
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       arrest supported by probable cause.” Id. The DNA identification swab and the

       sample obtained was held to be a reasonable search as a part of the “routine booking

       procedure” for the State’s interest in properly identifying an arrestee but also for the

       court to make “informed decisions concerning pretrial custody.” Id.

                                      1. Nature of Intrusion

¶ 95         Defendant was in the class of offenders sentenced under Fair Sentencing

       pursuant to N.C. Gen. Stat. § 14-2 between 1975 and 1978 and potentially impacted

       by this Court’s decision in State v. Bowden. In preparation for possible early release,

       along with all potentially affected inmates, a blood sample was taken from Defendant

       without recorded objection on 28 October 2009 by DAC.           This draw was taken

       pursuant to authority in N.C. Gen. Stat. § 15A-266.4 (2009). From this lawfully

       obtained sample, Defendant’s DNA profile was created and sent to CODIS.

¶ 96         Forensic DNA testing analyzes certain predetermined parts within the

       chromosomes contained inside of the nucleus of all human cells. The Supreme Court

       of the United States explains the process as:

                    The DNA material in chromosomes is composed of “coding”
                    and “noncoding” regions. The coding regions are known as
                    genes and contain the information necessary for a cell to
                    make proteins. . . . Non-protein-coding regions . . . are not
                    related directly to making proteins, [and] have been
                    referred to as “junk” DNA. The adjective “junk” may
                    mislead the layperson, for in fact this is the DNA region
                    used with near certainty to identify a person.
                           The term apparently is intended to indicate that this
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                    particular noncoding region, while useful and even
                    dispositive for purposes like identity, does not show more
                    far-reaching and complex characteristics like genetic
                    traits.
                            Many of the patterns found in DNA are shared
                    among all people, so forensic analysis focuses on repeated
                    DNA sequences scattered throughout the human genome,
                    known as “short tandem repeats” (STRs). The alternative
                    possibilities for the size and frequency of these STRs at any
                    given point along a strand of DNA are known as “alleles,”
                    and multiple alleles are analyzed in order to ensure that a
                    DNA profile matches only one individual.

       King, 569 U.S. at 442-43, 186 L. Ed. 2d at 17 (citations and internal quotation marks

       omitted).

¶ 97          CODIS is a national DNA database maintained by the FBI with all fifty states

       and federal law enforcement agencies participating. Id. at 444-45, 186 L. Ed. 2d at

       18.   CODIS collects DNA profiles from local laboratories. The profiles collected

       include “arrestees, convicted offenders, and forensic evidence found at crime scenes.”

       Id. at 445, 186 L. Ed. 2d at 18-19.

¶ 98          CODIS provides for the “standardization of the points of comparison in DNA

       analysis,” basing its database “on 13 loci at which the STR alleles are noted and

       compared.” Id. As stated by the Supreme Court, the “junk” nomenclature used may

       “mislead the layman,” but it is important to note the 13 CODIS loci “are from the

       nonprotein coding junk regions of DNA, and are not known to have any association

       with genetic disease or any other genetic predisposition.” Id. (citation and internal
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        quotation marks omitted).

¶ 99          The non-consensual swab of the defendant’s cheek constituted a search. Id. at

        446, 186 L. Ed. 2d at 19 (“Virtually any intrusio[n] into the human body, will work

        an invasion of ‘cherished personal security’ that is subject to constitutional

        scrutiny[.]” (internal citations and quotation marks omitted)). The Supreme Court

        held: “A buccal swab is a far more gentle process than a venipuncture to draw blood.

        It involves but a light touch on the inside of the cheek; and although it can be deemed

        a search within the body of the arrestee, it requires no surgical intrusion beneath the

        skin.” Id. at 446, 186 L. Ed. 2d at 20 (citation and internal quotation marks omitted).

¶ 100         Here, Defendant had his DNA sample collected by a “venipuncture to draw

        blood.” See id. The Supreme Court of the United States stated this procedure is a

        more invasive intrusion into personal security and freedom from unreasonable

        searches and seizures than taking a buccal swab for Fourth Amendment purposes.

        Id. While a blood draw is a further intrusion into personal security than the sample

        taken in King, this distinction alone does not per se make the intrusion unreasonable.

¶ 101         In State v. Barkley, 144 N.C. App. 514, 516, 551 S.E.2d 131, 133 (2001), this

        Court examined a blood draw from a suspect in a previous murder investigation, who

        had been arrested on a habitual felon indictment and required medical attention for

        an unrelated injury. Law enforcement officers had approached the defendant to

        provide a sample multiple times, while he was in-patient at the medical facility and
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        after the immediate medical issue was resolved. The defendant relented and allowed

        police to draw a blood sample. Id. at 517, 551 S.E.2d at 133. The sample matched

        DNA evidence from a rape, which had occurred several months earlier. Id. at 517,

        551 S.E.2d at 134. This Court found no error holding:

                     It is also clear that once a person’s blood sample has been
                     obtained lawfully, he can no longer assert either privacy
                     claims or unreasonable search and seizure arguments with
                     respect to the use of that sample. Privacy concerns are no
                     longer relevant once the sample has already lawfully been
                     removed from the body, and the scientific analysis of a
                     sample does not involve any further search and seizure of
                     a defendant’s person.

        Id. at 519, 551 S.E.2d at 135 (citation omitted).

¶ 102         The Supreme Court of the United States recognized the intrusion from a blood

        draw is greater than that of a fingerprint or buccal swab, but held the intrusion of an

        intravenous puncture was “not significant, since such tests are a commonplace in

        these days of periodic physical examinations and experience with them teaches that

        the quantity of blood extracted is minimal, and that for most people the procedure

        involves virtually no risk, trauma, or pain.” Skinner v. Railway Labor Executives’

        Ass’n, 489 U.S. 602, 625, 103 L. Ed. 2d 639, 665 (1989).

                                       2. Defendant’s Status

¶ 103         At the time of the 28 October 2009 blood draw, Defendant was incarcerated in

        the custody of DAC under a life sentence for the first-degree felony murder of Bullock.
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        “[G]iven the realities of institutional confinement, any reasonable expectation of

        privacy that [a prisoner] retained necessarily would be of a diminished scope.” Bell

        v. Wolfish, 441 U.S. 520, 557, 60 L. Ed. 2d 447, 480 (1979) (citation omitted). Unlike

        the defendant in Bell, Defendant was not a pretrial detainee, with the presumption

        of innocence, but rather someone under final conviction and serving a life sentence

        entered upon a unanimous jury’s verdict, which was reviewed and upheld by a

        unanimous Supreme Court of North Carolina. Womble, 292 N.C. at 461, 233 S.E.2d

        at 538.

¶ 104         Inmates do not forfeit all Fourth Amendment protections while incarcerated.

        Wolff v. McDonnell, 418 U.S. 539, 555-56, 41 L. Ed. 2d 935, 950-51 (1974). “[T]he

        threshold determination of whether a prisoner’s expectation is ‘legitimate’ or

        ‘reasonable’ and thus deserving of the Fourth Amendment’s protection, necessarily

        entails a balancing of the security interest of the penal institution against the privacy

        interest of the prisoner[.]” Wiley, 355 N.C. at 603, 565 S.E.2d at 32 (citation omitted).

        In Wiley, the nature of the intrusion was screening of the contents of a letter. Id. The

        issues in Bell involved searches for contraband and weapons inside a facility. Bell,

        441 U.S. at 557, 60 L. Ed. 2d at 480.

¶ 105         Unlike these cases, the search of Defendant involved a draw of an intravenous

        blood sample in preparation for potential release from prison pursuant to N.C. Gen.

        Stat. § 15A-266.4. Defendant was not singled out for individualized suspicion or
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        disparate treatment, but was within a class of inmates to be potentially released from

        custody prior to the expiration of their sentences. This intrusion is weighted against

        the government’s interest in preserving an identification record of convicted felons

        for resolving past or future crimes. Wiley, 355 N.C. at 603, 565 S.E.2d at 32. Here,

        the governmental interests outweigh an individual’s right to privacy while

        incarcerated and upon release.

¶ 106         As we previously held, the 28 October 2009 sample drawn from Defendant did

        not violate Defendant’s Fourth Amendment rights. The sample and profile were

        lawfully retained in the State Crime Lab’s control. Defendant does not have a privacy

        claim or an unreasonable search and seizure argument because, as the trial court also

        found, the sample was obtained and retained lawfully. See Barkley, 144 N.C. App. at

        519, 551 S.E.2d at 135 (citation omitted). The confirmatory analysis of Defendant’s

        profile did not violate Defendant’s rights. Defendant’s argument is overruled.

                              IX. Ineffective Assistance of Counsel

¶ 107         Defendant argues his counsel’s assistance before the Commission and the

        three-judge panel constituted ineffective assistance of counsel by failing to petition

        for expungement of his blood sample and results under N.C. Gen. Stat. § 15A-266.4.

        Defendant seeks the exclusion of the DNA profile as the remedy for the alleged

        ineffective assistance of counsel.

                                       A. Standard of Review
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¶ 108         In order to show ineffective assistance of counsel, a defendant must satisfy the

        two-pronged test announced by the Supreme Court of the United States in Strickland

        v. Washington, 466 U.S. 668, 80 L. Ed. 2d 674 (1984). The Strickland test for

        ineffective assistance of counsel has also been adopted by the Supreme Court of North

        Carolina for state constitutional purposes. State v. Braswell, 312 N.C. 553, 324

        S.E.2d 241 (1985).

¶ 109         To show ineffective assistance, Defendant “must show that his counsel’s

        conduct fell below an objective standard of reasonableness.” Id. at 561-62, 324 S.E.2d

        at 248 (citing Strickland, 466 U.S. at 688, 80 L. Ed. 2d at 693).

¶ 110         Pursuant to Strickland,

                     First, the defendant must show that counsel’s performance
                     was deficient. This requires showing that counsel made
                     errors so serious that counsel was not functioning as the
                     “counsel” guaranteed the defendant by the Sixth
                     Amendment. Second, the defendant must show that the
                     deficient performance prejudiced the defense. This
                     requires showing that counsel’s errors were so serious as to
                     deprive the defendant of a fair trial, a trial whose result is
                     reliable. Unless a defendant makes both showings, it
                     cannot be said that the conviction . . . resulted from a
                     breakdown in the adversary process that renders the result
                     unreliable.

        Strickland, 466 U.S. at 687, 80 L. Ed. 2d at 693; accord Braswell, 312 N.C. at 561-62,

        324 S.E.2d at 248.
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¶ 111         When reviewing an ineffective assistance of counsel claim, “this Court engages

        in a presumption that trial counsel’s representation is within the boundaries of

        acceptable professional conduct.” State v. Roache, 358 N.C. 243, 280, 595 S.E.2d 381,

        406 (2004) (citation omitted). Our Supreme Court stated it “ordinarily do[es] not

        consider it to be the function of an appellate court to second-guess counsel’s tactical

        decisions[.]” State v. Lowery, 318 N.C. 54, 68, 347 S.E.2d 729, 739 (1986).

                                         B. Formal Inquiry

¶ 112         The State argues no constitutional right to an attorney exists in state post-

        conviction proceedings; therefore, a petitioner cannot claim ineffective assistance of

        counsel pursuant to the Sixth Amendment. The State relies on Coleman v. Thomas,

        501 U.S. 722, 752, 115 L. Ed. 2d 640, 671 (1991) and Davila v. Davis, __ U.S. __, __,

        198 L. Ed. 2d 603, 612 (2017). In Davila, the Supreme Court of the United States

        reaffirmed Coleman’s holding that where an attorney committed an error in a state

        court post-conviction proceeding, and where the Sixth Amendment does not

        guarantee a right to counsel, the error cannot supply the cause necessary to excuse a

        procedural default to allow review. Id. at __, 198 L. Ed. 2d at 612.

¶ 113         Defendant parallels this issue to a criminal defense attorney who does not

        advise their client on potential collateral consequences of a criminal conviction prior

        to pleading guilty. See Padilla v. Kentucky, 559 U.S. 356, 368-69, 176 L. Ed. 2d 284,
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        295 (2010).    However, counsel’s failure to seek expunction is not a collateral

        consequence.

¶ 114         Defendant had a statutory right to counsel for the “formal inquiry” by the

        Commission and at the hearing before the three-judge panel. See N.C. Gen. Stat. §§

        15A-1467(b) and 1469(d). Defendant’s counsel sought a finding of actual innocence

        at the Commission and dismissal before the three-judge panel.

¶ 115         A defendant cannot plead guilty without being informed of collateral

        consequences that might affect their taking the plea. Padilla, 559 U.S. at 371, 176

        L. Ed. 2d at 297. In Padilla, the defendant was incorrectly told he “did not have to

        worry about immigration status since he had been in country so long.” Id. at 359, 176

        L. Ed. 2d at 290.    The drug charges he pleaded guilty to made his deportation

        mandatory. Id.
¶ 116         As established above, Defendant did not have a statutory right to expungement

        under either N.C. Gen. Stat. §§ 15A-146 or 15A-148. Defendant’s counsel does not

        have a duty to pursue a remedy unavailable at law. Under Strickland, Defendant’s

        counsel’s performance cannot be “deficient” for not pursuing a claim that is

        unavailable to him. Strickland, 466 U.S. at 687, 80 L. Ed. 2d at 693.

¶ 117         Defendant’s counsel at the two proceedings was seeking to establish his client’s

        innocence and dismissal of his conviction. This counsel was not retained to pursue

        any further claim or action by Defendant, including a claim under N.C. Gen. Stat. §
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        148-82 (2019). The trial court properly denied Defendant’s ineffective assistance of

        counsel claim. Davila, __ U.S. at __, 198 L. Ed. 2d at 612. Defendant’s argument is

        overruled.

                                      X. Inevitable Discovery

¶ 118         The State argues even if the 28 October 2009 sample was unconstitutionally

        obtained from Defendant, it would be admissible under the inevitable discovery

        doctrine because the State had focused their investigation on Defendant. The State

        asserts the trial court erred in concluding the Todd homicide investigation had

        “stalled” and denied the State the opportunity to put on additional evidence towards

        their alternative theory for admission under inevitable discovery at the trial court.

¶ 119         The Supreme Court of the United States and the North Carolina Supreme

        Court have recognized and adopted the inevitable discovery exception to the Fourth

        Amendment’s exclusionary rule. Nix v. Williams, 467 U.S. 431, 448, 81 L. Ed. 2d 377,

        390 (1984); State v. Garner, 331 N.C. 491, 506-07 417 S.E.2d 502, 510 (1992). The

        inevitable discovery doctrine prevents the application of the exclusionary rule where:

                     evidence which would otherwise be excluded because it was
                     illegally seized may be admitted into evidence if the State
                     proves by a preponderance of the evidence that the
                     evidence would have been inevitably discovered by the law
                     enforcement officers if it had not been found as a result of
                     the illegal action.

        Pope, 333 N.C. at 114, 423 S.E.2d at 744.
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¶ 120         The State points to Detective Johnson’s testimony that the investigation would

        have inevitably focused on Defendant, regardless of the CODIS match. Detective

        Johnson testified the investigation into Todd’s murder would have focused on

        Defendant because: (1) Defendant and Todd both lived in the Creekside Apartments;

        (2) Defendant told investigators he knew Todd, lent her cigarettes, and gave her rides

        to the grocery store; (3) Defendant also told officers he had cut off contact when Todd

        told his then girlfriend, Myrie, he “was trying to get with her”; (4) the anonymous call

        to Pittsboro Police reporting Defendant had killed Todd because Todd                 had

        “confronted [Defendant] for hitting on her . . . , but just trying to have a relationship

        with her” and Defendant had “got upset and said that he would get Ms. Todd for

        telling [Myrie] on him”; and, (5) Todd’s stepfather had already told investigators that

        Todd had told him, shortly before she was murdered, “there was a gentleman . . . [in]

        the apartment complex that had been harassing her and that was trying to - - to hit

        on her and it was just causing her some distress.”

¶ 121         The trial court did not allow the State to present Detective Johnson’s testimony

        to establish police had responded to disturbances or assaults involving Defendant and

        Myrie at least six times between March 2017 and August 2017. The trial court

        reasoned the Greensboro Police Department incident reports did not come to

        Detective Johnson’s attention until after the State Lab told police about the CODIS

        hit and the retest to verify the match.
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¶ 122         Pittsboro Police initially focused on Thel Riley as their suspect, but he was

        ruled out by DNA analysis. It was error for the trial court to deny the State the

        opportunity to present evidence to satisfy their burden to prove inevitable discovery.

        Nowhere does our precedent impose a temporal component to evidence subject to

        inevitable discovery, only that the evidence “would have been inevitably discovered”

        by police.

                                          XI. Conclusion

¶ 123         The trial court correctly concluded the 28 October 2009 sample was lawfully

        taken and retained and was not an unreasonable search in violation of the Fourth

        Amendment. Defendant was not entitled to expulsion and expunction under either

        N.C. Gen. Stat. §§ 15A-146 and 15A-148. N.C. Gen. Stat. § 15A-148 places the burden

        of petitioning for expunction on the movant, and not ipso facto upon the State.

¶ 124         Presuming the constitutionally of the statute and Defendant’s burden to show

        prejudice, the lack of automatic expunction does not trigger or place “an

        unconstitutional burden on the defendant” in violation of the Law of the Land Clause

        in Article I, Section 19 of the North Carolina Constitution. North Carolina’s lack of

        automatic expunction in the statute also does constitute a procedural or substantive

        Due Process violation. The trial court erred in suppressing Defendant’s 28 October

        2009 blood sample and DNA profile therefrom uploaded into CODIS.
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¶ 125         The 28 October 2009 sample was not “fruit of the poisonous tree” from

        Detective Leather’s interrogation and Defendant’s confessions. The confirmatory

        analysis and the subsequent search of the blood sample taken 24 January 2018 were

        not a warrantless search lacking exigent circumstances. The trial court’s ordered

        suppression on the violation of the Law of the Land Clause is erroneous and reversed.

        This matter is remanded for trial. It is so ordered.

              AFFIRMED IN PART, REVERSED IN PART, AND REMANDED.

              Judges MURPHY and GORE concur.
